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EXHIBIT R

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October 21, 2009
'i/IA ELECTROiviC MAli.

isabel M. Humphrey

Randy Yavi'tz

Cendess J. Hunter

Hunter. l-lumphrey & Yavitz. PLC
2633 E indian School Road. #440
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Re: lntersectr'ons Inc. and Net Enforcers, Inc. v. Loom.i's and Loomi's, Case No. 1:090V597
Dear Counsel:

We received your October 16, 2009 letter enclosing several DVDs. P|ease confirm that the DVDs
produced to us (i) include documents collected from Jennl Loomis and (ii) represent the complete
production of documents by .loseph Loomis.

ln additionl we have begun our review of the documents contained on those DVDs and have several
concerns. First, you did not provide all of the metadata fields required by the partiesl Discovery Plan.
Specifica|ly. you did not provide a "beg doc" field and you did not provide an "extracted text” field
Without the extracted text tield. as you likely are aware, we are not able to search the documents
produced Second. you did riot provide a link between the native files as provided on the disk and their
correspond:ng production bates numbers There is no way for us easily to determine which native file
corresponds to a particular tiff image

Please let us know if you are available tomorrow at 1100 pm EST to discuss these issues pursuant to
l_ocal Civil Rule 37(E).

Very truly yours. l l
altered d owe
|Vlichelle J, Dickinson

cc' David Ludvvig
|Vle|issa R. Roth

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